          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 1 of 14



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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9    GLASSYBABY, LLC, a Washington
     limited liability company,                          No. 2:11-cv-00380
10
                                   Plaintiff,            FIRST AMENDED COMPLAINT
11                                                       FOR INJUNCTIVE RELIEF AND
            v.                                           DAMAGES
12
     PROVIDE GIFTS, INC. d/b/a RED
13   ENVELOPE., a California corporation, and            JURY TRIAL DEMANDED
     NORTHERN LIGHTS ENTERPRISES,
14   INC., a New York corporation,
15                                 Defendants.
16

17          Plaintiff, for its FIRST AMENDED COMPLAINT against the defendants, hereby

18   alleges as follows:

19                                         THE PARTIES

20          1.      Plaintiff Glassybaby, LLC is a limited liability company organized under

21   the laws of the state of Washington, with its principal place of business in Seattle, King

22   County, Washington. Glassybaby is a maker and distributor of fine, distinctive, hand-

23   blown glass containers used as, among other things, votive candle holders.

24          2.      On information and belief, defendant Provide Gifts, Inc. d/b/a Red

25   Envelope (“Red Envelope”) is a corporation organized under the laws of the state of

26   Delaware with its principle place of business in San Diego, California.

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          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 2 of 14



1            3.     On information and belief, defendant Northern Lights Enterprises, Inc.
2    d/b/a Northern Lights Candles (“Northern Lights”) is a corporation organized under the
3    laws of the state of New York, with its principal place of business in Wellsville, New
4    York.
5                                 JURISDICTION AND VENUE
6            4.     This Court has personal jurisdiction over defendant Red Envelope because,
7    among other reasons, on information and belief, Red Envelope markets and distributes its
8    goods—including goods that give rise to the claims asserted this action—to consumers in
9    the state of Washington. On information and belief, Red Envelope purposely avails itself
10   of the privileges of doing business in the state of Washington by, among other things,
11   distributing printed catalogs to customers in Washington and taking online orders and
12   payments from Washington residents via its website. Moreover, Red Envelope’s actions
13   are causing harm in the state of Washington.
14           5.     This Court has personal jurisdiction over defendant Northern Lights
15   because, among other reasons, on information and belief, Northern Lights markets and
16   distributes its goods—including goods that give rise to the claims asserted this action—to
17   consumers in the state of Washington. On information and belief, Northern Lights
18   purposely avails itself of the privileges of doing business in the state of Washington by,
19   among other things, distributing printed catalogs to customers in Washington and taking
20   online orders and payments from Washington residents via its website. Moreover,
21   Northern Lights’ actions are causing harm in the state of Washington.
22           6.     The Court has original subject matter jurisdiction over this action pursuant
23   to 28 U.S.C. § 1338 and 28 U.S.C. § 1331, because one or more of the claims at issue
24   arises under federal law—specifically, 15 U.S.C. §§ 1125(a) and (c).
25           7.     Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over
26   the state law claims at issue in this action because they are so related to the federal law

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          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 3 of 14



1    claims as to form part of the same case or controversy—i.e., they arise out of a common
2    nucleus of operative facts. Moreover, subject matter jurisdiction over the state law claims
3    exists under 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or value
4    of $75,000, exclusive of interest and costs, and involves citizens of different states.
5           8.        Venue in this Court is proper under 28 U.S.C. § 1391(b) because, on
6    information and belief, the defendants reside in this District (i.e., are subject to personal
7    jurisdiction here), and because a substantial part of the events giving rise to the claims
8    occurred here.
9                                               FACTS
10          9.        The concept for Glassybaby was conceived in 1998 as its founder, Lee
11   Rhodes, was struggling to survive a rare form of lung cancer. Over the next few years,
12   Rhodes learned to blow glass and began selling her hand-made creations to others. After
13   seeing the strong, positive responses that others had to her product, she founded
14   Glassybaby and hired other glassblowers to help increase production and spread
15   Glassybaby to a broader market.
16          10.       In 2003, Glassybaby opened its first retail store. Today, the Madrona
17   neighborhood of Seattle is home to the company's main store and studio, where a team of
18   dedicated glassblowers produces an average of 200 Glassybaby daily. Due to
19   overwhelming growth in demand, Glassybaby is in now the process of expanding its
20   Madrona glassblowing production facility. The company also has stores in Seattle's
21   University Village; in Bellevue, Washington; and in New York City's West Village
22   neighborhood at 555 Hudson St.
23          11.       The distinctive design of Glassybaby hand-blown glass containers
24   constitutes a famous trademark that serves to distinguish Glassybaby from glass votive
25   holders made by other manufacturers. The mark consists of a three-dimensional
26   configuration of a round glass container that is approximately 3.75 inches tall, having

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          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 4 of 14



1    sides that curve convexly from the base to the rim, a maximum width of approximately
2    2.5 inches, a wide top opening, and a thick, clear base. This distinctive design is the
3    product of an artisanal technique employed by Glassybaby’s glassblowers to achieve a
4    unique and recognizable aesthetic appeal. There are an infinite number of other designs,
5    shapes, and sizes for glass containers made by other manufacturers that can serve the same
6    functions as a Glassybaby (i.e., to hold candles, flowers, beverages, etc.), but consumers
7    seek out and demand the genuine Glassybaby design because of its distinctive and
8    aesthetically pleasing shape, size, and hand-crafted appearance. Consumers also know
9    that, unlike other manufacturers of glass containers and candle holders, a significant
10   portion of Glassybaby revenues goes to support worthy charitable causes.
11          12.     The fame and distinctiveness of the Glassybaby design among the
12   consuming public has been established by widespread coverage in print and television
13   journalism, extensive marketing and promotion, and appearances on national broadcast
14   television and radio programs. Glassybaby extensively promotes its glass container
15   products and repeatedly and consistently displays close-up visual images of its distinctive
16   design in promotional materials to ensure that consumers recognize the three-dimensional
17   glass configuration as a source identifier.
18          13.     Among the consuming public, the unique and distinctive design of
19   Glassybaby glass containers has become recognizable as a mark of high-quality,
20   exclusive, handmade glass. Moreover, because a portion of Glassybaby’s revenue is
21   donated to charitable organizations, members of the consuming public can be confident
22   that by purchasing a genuine Glassybaby, not only are they acquiring a beautiful,
23   handmade piece of glass, they are also providing financial assistance to worthy causes.
24          14.     On information and belief, defendant Northern Lights is importing,
25   marketing, and selling products referred as “Jeweltone votive holders,” which are
26   confusingly similar in appearance to Glassybaby’s distinctive, protected design. On

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                                                                                          (206) 467-1816
          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 5 of 14



1    information and belief, these products are imported by Northern Lights from one or more
2    manufacturers in China.
3           15.     On information and belief, Northern Lights sells these confusingly similar
4    “Jeweltone votive holders” to Red Envelope and other possibly other consumers via its
5    company catalogs and website. Northern Lights’ marketing and sale of these products to
6    Red Envelope and other members of the public has the potential to mislead or confuse
7    consumers regarding the source, sponsorship, or affiliation of these products—i.e., to
8    mislead customers into believing they are purchasing genuine Glassybaby.
9           16.     On information and belief, defendant Red Envelope resells Northern
10   Lights’ products through the Red Envelope catalog and website, referring to them as
11   “jewel tea light holders.” Red Envelope’s marketing and sale of these products to the
12   public has the potential to mislead or confuse consumers regarding the source,
13   sponsorship, or affiliation of these products—i.e., to mislead customers into believing they
14   are purchasing genuine Glassybaby.
15          17.     As a result of Northern Lights’ and Red Envelope’s actions, there is a
16   likelihood that consumers are being or will be confused or misled into believing they are
17   purchasing an authentic Glassybaby when, in fact, they are purchasing a cheaply made
18   imitation that is imported by Northern Lights from China. Moreover, if their actions are
19   not enjoined, Defendants’ actions are likely to diminish the ability of the Glassybaby
20   design to continue to distinguish genuine Glassybaby products from those made and sold
21   by others.
22          18.     Defendants’ marketing and sale of these “Jeweltone votive holders” and/or
23   “jewel tea light holders” (collectively, “Imitation Products”) is not authorized by
24   Glassybaby. Images of the Imitation Products taken from defendants’ marketing materials
25   are attached hereto as Exhibit A (Northern Lights) and B (Red Envelope). These images
26   are merely illustrative of the Imitation Products; they are not intended to be a complete

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     RELIEF AND DAMAGES – Page 5                                                 Seattle, Washington 98101-3143
                                                                                          (206) 467-1816
          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 6 of 14



1    collection of all infringing products or activities. As these images show, however, the
2    Imitation Products are confusingly similar in size, shape, proportion, curvature, and
3    overall appearances to the genuine Glassybaby design, from the wide top opening, right
4    down to the thick, clear base.
5           19.     After becoming aware of Defendants marketing and sale of the Imitation
6    Products, Glassybaby wrote to both Red Envelope and Northern Lights to ask that they
7    cease marketing and selling the Imitation Products because they violate Glassybaby’s
8    rights in the distinctive Glassybaby design and constitute unfair competition, under both
9    federal and state law.
10          20.     Northern Lights has failed to comply with Glassybaby’s request. The
11   Imitation Products remain available for sale through Northern Lights’ websites and
12   catalogs. It now appears that the Imitation Products have been removed, at least
13   temporarily, from Red Envelope’s website. But so long as they may be ordered from the
14   Red Envelope catalog (or might reappear for sale on the Red Envelope website) or may be
15   purchased directly from Northern Lights, the Imitation Products will continue causing
16   actual or potential confusion among the consuming public, as well as damage to
17   Glassybaby’s goodwill. Unless Defendants are enjoined from continuing to market and
18   sell the Imitation Products, their actions will continue to dilute the distinctiveness of
19   Glassybaby’s famous mark and cause irreparable damage to Glassybaby.
20                                          COUNT I:
                                 Infringement – 15 U.S.C. § 1125(a)
21

22          21.     Defendants’ acts of importing, marketing, and/or selling the Imitation
23   Products violate the Lanham Act, 15 U.S.C. § 1125(a), by causing among the consuming
24   public a likelihood of confusion, mistake, or deception as to the affiliation, connection, or
25   association of the Imitation Products with those of Glassybaby.
26

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     RELIEF AND DAMAGES – Page 6                                                   Seattle, Washington 98101-3143
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          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 7 of 14



1           22.        Defendants’ importing, marketing, and/or selling the Imitation Products
2    further violates 15 U.S.C. § 1125(a) by causing among the consuming public a likelihood
3    of confusion, mistake, or deception as to the origin, sponsorship, or approval of
4    Defendants’ Imitation Products by Glassybaby.
5           22.        Defendants’ acts of infringement in violation of 15 U.S.C. § 1125(a) have
6    been willful and without regard for Glassybaby’s rights. Unless enjoined, Defendants’
7    actions will cause further and irreparable harm to Glassybaby.
8                                             COUNT II:
                                     Dilution – 15 U.S.C. § 1125(c)
9

10          23.        Defendants’ actions of importing, marketing, and/or selling the Imitation
11   Products impairs or is likely to impair the distinctiveness of the Glassybaby design and
12   thereby diminish its capacity to distinguish Glassybaby’s glass votive holders from those
13   of its competitors.
14          24.        Further, Defendants’ actions of importing, marketing, and/or selling the
15   Imitation Products is tarnishing or is likely to tarnish the reputation of Glassybaby because
16   the Imitation Products are of inferior quality and artistry to genuine Glassybaby and do
17   not directly support the charitable causes that Glassybaby is widely known and celebrated
18   for supporting.
19          25.        As a result of these actions, Defendants are causing dilution or likelihood
20   of dilution of Glassybaby’s famous design mark, in violation of the Lanham Act, 15
21   U.S.C. § 1125(c). Unless enjoined, Defendants’ actions will cause further and irreparable
22   harm to Glassybaby.
23          26.        Defendants’ acts of dilution in violation of 15 U.S.C. § 1125(c) have been
24   willful and without regard for Glassybaby’s rights. Specifically, Defendants’ conduct
25   reflects their willful intent to trade on the famous Glassybaby mark and/or to harm the
26   reputation of the Glassybaby mark.

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     RELIEF AND DAMAGES – Page 7                                                   Seattle, Washington 98101-3143
                                                                                            (206) 467-1816
          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 8 of 14



1                                      COUNT III:
                  Trademark Dilution Under Washington Law RCW 19.77.160
2

3           27.     By the actions described above, Defendants actions are in violation of

4    RCW 19.77.160. Defendants’ importing, marketing, and selling the Imitation Products in

5    Washington has caused dilution of Glassybaby’s distinctive and famous product design.

6    Unless enjoined, Defendants’ actions, which reflect willful intent to trade on Glassybaby’s

7    reputation and fame, will continue to cause dilution to Glassybaby’s famous mark and

8    irreparable harm to Glassybaby’s goodwill.

9                                       COUNT IV:
                           Unfair Competition Under RCW 19.86.020
10

11          28.     By the actions described above, Defendants have committed unfair or

12   deceptive acts in trade or commerce. These actions affect the public interest by, among

13   other things, causing or creating a likelihood of confusion regarding whether the Imitation

14   Products are genuine Glassbaby. These actions, and the resulting likelihood of confusion

15   and dilution of Glassybaby’s mark, have proximately and in fact caused injury to

16   Glassybaby’s business or property, and will continue to cause injury unless enjoined.

17          29.     Defendants have violated RCW 19.86.020 and are consequently liable to

18   Glassybaby for the injuries resulting therefrom.

19                                      PRAYER FOR RELIEF

20          Glassybaby prays for entry of a judgment against Red Envelope and Northern

21   Lights that provides as follows:

22          a.      Enjoining Defendants from further importation, marketing, and sales of the

23   Imitation Products or any other products that are confusingly similar in appearance to

24   genuine Glassybaby glass votive holders, pursuant to 15 U.S.C. §§ 1116(a) and 1125(c)(5)

25   and RCW 19.77.160(1) and 19.86.090;

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     RELIEF AND DAMAGES – Page 8                                               Seattle, Washington 98101-3143
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          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 9 of 14



1           b.      Requiring Defendants to file with the Court and serve on Glassybaby a
2    report in writing and under oath setting forth in detail the manner and form in which they
3    have complied with the foregoing injunction, pursuant to 15 U.S.C. § 1116(a);
4           c.      Awarding Glassybaby its actual damages, Defendants’ profits, and the
5    costs of bringing this action, pursuant to 15 U.S.C. §§ 1117(a) and RCW 19.77.160(2) and
6    19.86.090;
7           d.      Trebling the award of Glassybaby’s actual damages, pursuant to 15 U.S.C.
8    § 1117(a) and RCW 19.77.160(2) and 19.86.090;
9           e.      Awarding Glassybaby its reasonable attorney fees under 15 U.S.C.
10   § 1117(a) and RCW 19.77.160(2) and 19.86.090;
11          f.      Requiring Defendants, pursuant to 15 U.S.C. § 1118, to (i) destroy all
12   Imitation Products—and any marketing or promotional materials that depict images of or
13   contain offers to sell the Imitation Products—in their possession, custody, or control; and
14   (ii) remove any depictions of or references to the Imitation Products from printed or
15   online promotional or advertising materials in their possession, custody, or control; and
16          g.      Awarding Glassybaby such other relief as the Court deems just and
17   equitable.
18                                       JURY DEMAND
19          Glassybaby demands trial by jury on all issues so triable.
20

21          Dated this 3rd day of July, 2011.
22

23                                         McNAUL EBEL NAWROT & HELGREN
24                                         By:    /s/ David A. Linehan
                                                  Robert M. Sulkin, WSBA No. 15425
25                                                David A. Linehan, WSBA No. 34281
26                                         Attorneys for Plaintiff

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     RELIEF AND DAMAGES – Page 9                                                Seattle, Washington 98101-3143
                                                                                         (206) 467-1816
         Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 10 of 14



1
                                     CERTIFICATE OF SERVICE
2

3            I hereby certify that on July 3, 2011, I filed the foregoing First Amended Complaint

4    for Injunctive Relief and Damages using the CM/ECF electronic filing system, which will

5    deliver notice of this filing to all counsel of record.

6
                                                      s/ David A. Linehan
7                                                        David A. Linehan
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     RELIEF AND DAMAGES – Page 10                                                  Seattle, Washington 98101-3143
                                                                                            (206) 467-1816
Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 11 of 14




                EXHIBIT A
Northern Lights Candles - Candles - Candle Accessories - Scented Candles - Jar Candles
                          Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 12 of 14




           FRAGRANCED                 UNFRAGRANCED                    WHAT'S NEW                 ACCESSORIES              VIEW BASKET


       VOTIVE HOLDERS                                                                                                       RETURN TO
                                                                                                                            CATEGORY
       Jeweltone votive holders have a rounded, oval shape with a heavy clear bottom
       and rich color above. Measure 2.75” diameter at the widest point x 3” height.


                                                                                                                         SUGGESTED ITEMS:




                                                                                  Jeweltone
                                                                                  Color, Fragrance, Style or
                                                                                                                      Basic Accessories - 12pc 6hr
                                                                                  Size
                                                                                                                               Tealight
                                                                                   Sapphire
                                                                                   Sapphire                                      $7.99
                                                                                  Quantity
                                                                                   1


                                                                                  Price $6.49


                                                                                                                       AromaZone - 12pc Sampler
                                                                                                                               $22.99




                                                                                                                      Nordica Fluted Candleholder -
                                                                                                                       2.62" x 2.5" Votive Holder
                                                                                                                                  $4.99




         Amethyst         Sapphire           Topaz
          $6.49             $6.49            $6.49

                                                                                                                       Fluted Votive Cup - Amber
                                                                                                                                  $4.99



                    CLEARANCE | GIFT CERTIFICATE | CONTACT US | ABOUT US | WHOLESALE | MAILING LIST

                                                                                       for Color, Fragrance or Size




https://www.northernlightscandles.com/...sories&Line=Votive Holders&Size=Jeweltone&Color=Sapphire&Status=Accessories[1/31/2011 10:37:55 AM]
Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 13 of 14




                 EXHIBIT B
Case 2:11-cv-00380-MJP Document 33 Filed 07/03/11 Page 14 of 14
